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Showing 1-10 of 18 documents
1. Neurontin (Gabapentin)
Document Date: 20001130
Author: McCrorie, Hank|Katen, Karen

Search Terms in Context: Sent: Thursday, November 3G, 2000 7:00 PM To: DL-Ali_Field_Force Cc: DL-Sales_VPs_AIT;
DL-Sales_Ops_All; Katen, Karen L; Chapman, Chris; Evans, George (Ny- Legal); Johnson,
Rady Subject: NEURONTIN (GABAPENTIN) MEMORANDUM November 30, 2000 TO: U.S.
PHARMACEUTICAL FIELD FORCE FROM: Hank McCrorie RE: Neurontin@® (gabapentin) cc: Karen
Katen, Executive Vice President, PPG As indicated by Karen Katen in her Novernber 10th
memorandum to PPG-US Marketing, Sales, and Medical senior management (see Attachment),
a number of decisions have been made relevant to the promotion and marketing of Neurontin
which appropriately respond to certain legal challenges we face. This memorandum is intended
to further communicate those decisions relevant to PPG-US sales personnel, so that
appropriate action can be taken within Pfizer's US sales operations to ensure their effective
imple

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2. CALCULATION OF DAMAGES FOR THE NEVRONTIN MDL CLASS PLAINTIFFS. AND COORDINATED PLAINTIFFS (AETNA,
GUARDIAN AND KAISER)

Document Date. 20080811
Author: Hartman, Raymond

Search Terms in Context: Declaration of Raymond S. Hartman Calculation of Damages for the Neurontin MDi Class
Plaintiffs and Coordinated Plaintiffs (Aetna, Guardian and Kaiser) I. Qualifications 1. My name is
Raymond S. Hartman. I am Director and President of Greylock McKinnon Associates (GMA), a
consulting and litigation support firm located In Cambridge, Massachusetts. I have previously
presented my qualifications in my August 2005 Declaration in this matter1 and do not repeat
them here. An updated curriculum vitae and a listing of deposition and trial appearances is
presented in Attachment A. My rate of compensation in this matter is $475.00 per hour.
Materials cited In this Declaration appear in Attachment C. II. Gverview and Summary 2. I have
been asked by counsel to the named Plaintiffs and the Classes to calculate the monetary value
of damages. The MDL Classes and Subclasses are defined as follows: "All private, non-
governmental entities in the United States and its territories that paid or r

Bookmark: http: //dida.lib ucst. id/oxx18k1i0

3. Estimate of Units Paid for by Neurontin End rs that Resulted fr teged Fraudulent Marketing by Defendants
Document Date: 20080811

Author: Rosenthal, Meredith

Bookmark: http//dida.library.ucsf, edu/tid/oxx18j10

4. REVISED SUPPLEMENTAL DECLARATION OF ILYAS 1, RONA FILED IN SUPPORT GF PLAINTIFFS RENEWED MOTION FOR
CLASS CERTIFICATION

Document Date: 20081006
Author: Rona, Ilyas

Search Terms in Context: Unttep STATES DISTRICT COURT DISTRICT OF MASSACHUSETTS IN RE NEURONTIN
MARKETING, SALES PRACTICES, AND PRODUCTS LIABILITY LITIGATION THIS DOCUMENT
RELATES TO: ) MDL Docket No. 1629 ) Master File No. 04-10981 } judge Patti B. Saris ALL
MARKETING AND ) Mag. Judge Leo T. Sorokin SALES PRACTICES ACTIONS } REVISED
SUPPLEMENTAL DECLARATION OF ILYAS J. RONA FILED IN SUPPORT OF PLAINTIFFS*
RENEWED MOTION FOR CLASS CERTIFICATION I, Ilyas J. Rona, do hereby state and depose,
the following:1 1. 1am an attorney at the law firm Greene & Hoffman, P.C. and am duly
admitted to practice faw in the Commonwealth of Massachusetts and to appear before the
